Dear Ms. Koury:
We are in receipt of your request for an Attorney General's opinion with regard to the recall petition directed toward Malcolm Brasseaux, Councilman, Ward 3, Town of Church Point, Parish of Acadia. The registrar of voters certified the recall petition on April 18, 1995, and has presented same to the governor. Therefore, you have requested an opinion as to whether the governor should issue a proclamation ordering an election to be held for the purpose of voting on the question of recall.
LSA-R.S. 18:1300.3(C) requires the registrar to send the original petition to the governor immediately after certification. Section 1300.7 requires the governor to issue a proclamation, within fifteen days after the petition is presented to him, to order an election to be held for the purpose of voting on the question of recall of the officer if the required number of registered voters, qualified to vote as of the date of the registrar's certificate, signed the petition.
LSA-R.S. 18:1300.3 requires the registrar to certify to (1) the number of names on the petition;  (2) the number of names on the petition who are electors in the voting area;  (3) the number of electors of the voting area as of the date of the certificate; and (4) the number of names on the petition who are not electors. The registrar's certificate states as follows:
(1)  Number of names appearing on original petition = 247
(2)  Number of validated names on original petition = 242
(3)  Number of invalid names of electors on petition = 5
(4)  Total number of electors of the voting area on this date = 532
LSA-R.S. 18:1300.2(B) requires a recall petition to be "[s]igned by a number of the electors of the voting area as will in number equal not less than thirty-three and one-third percent of the number of the total electors of the voting area wherein and for which a recall election is petitioned;  however, where fewer than one thousand qualified electors reside within the voting area, the petition shall be signed by not less than forty percent of said electors."  The total number of electors of the voting area in this matter is fewer than one thousand. Therefore, in calculating forty percent of the total number of electors of the voting area on April 18, 1995 (532), a total of 213 valid signatures is required on the recall petition for the governor to issue a proclamation for a special election.
The registrar certified that there are a total of 242 valid signatures on the recall petition, which meets the required forty percent. Therefore, it is the opinion of this office that the validated signatures on the recall petition are sufficient in number for the governor to issue a proclamation ordering a special election on the question of recall for Malcolm Brasseaux, Councilman, Ward 3, Town of Church Point, Parish of Acadia.
If we can be of further assistance in this matter, please contact our office.
Very truly yours,
                                             RICHARD P. IEYOUB ATTORNEY GENERAL
                                         By: _____________________ ANGIE ROGERS LaPLACE Assistant Attorney General